        Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 1 of 9




             IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

LILY ENGLEMAN,

      Plaintiff,                          Case No.: 1:22-cv-00903-MLB

      vs.

WILLIAM CLAYTON NIX, JOHN
RICHEY, TOMEKIA JORDAN, MIKE
RILEY, and JONATHAN ADAMS,

      Defendants.

                 INITIAL DISCLOSURES OF DEFENDANTS
               JOHN RICHEY AND WILLIAM CLAYTON NIX

     Defendants John Richey and William Clayton Nix, makes the following

Initial Disclosures pursuant to Federal Rules of Civil Procedure 26(a)(1) and Local

Rule 26.1.

     These disclosures are based on the information currently available to

Defendants Nix and Richey. However, the allegations asserted in Plaintiff’s

Complaint are still being investigated, and the parties have not yet conducted

discovery. Defendants Nix and Richey reserve the right to amend, supplement or

change their disclosures in the event additional information becomes available.

      1. If the defendant is improperly identified, state defendant's correct
         identification and state whether defendant will accept service of an
         amended summons and complaint reflecting the information
         furnished in this disclosure response.



                                         1
 Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 2 of 9




   Defendants Nix and Richey are properly identified.

2. Provide the names of any parties whom defendant contends are
   necessary parties to this action, but who have not been named by
   plaintiff. If defendant contends that there is a question of misjoinder
   of parties, provide the reasons for defendant's contention.

   Defendants Nix and Richey are not aware of any necessary parties who
   have not been named by Plaintiff.

3. Provide a detailed factual basis for the defense or defenses and any
   counterclaims or cross-claims asserted by defendant in the
   responsive pleading.

      On September 6, 2019, Plaintiff was visiting inmate Ricky Dubose at
   a Georgia prison facility. During that visit with Dubose, video footage
   showed Plaintiff leaning under the table multiple times consistent with
   her having thrown or handed to the inmate something under the table. At
   the same time, it appeared from the footage Dubose put an item in his
   sock that looked white. Dubose’s jail cell was searched on September 11,
   2019, uncovering a bible, multiple social security numbers written down,
   credit card numbers, 3 device batteries, a trace amount of meth and what
   appeared to be gang paraphernalia.

       On September 13, 2019, as part of an investigation into Dubose,
   letters from Dubose were reviewed and indicated that Dubose was
   receiving items from outside of the jail. In one letter it mentioned, “I got
   a pack of Newport’s from “L”. The staff did find a pack of Newport’s in
   a holding cell next to the interview room on September 16, 2019. On
   September 13, 2019, Dubose was also interviewed by a Department of
   Corrections Investigator. He stated that members of his defense had
   brought him contraband into the faculty, but he would not name anyone.
   In the report, there was a mention of Jabari Roundtree who was a known
   friend of Dubose. When Roundtree was questioned, he also stated that
   Dubose’s legal team brings in contraband.

      On October 30, 2019, a follow up interview was held, and Dubose
   again stated that members of his defense team had brought him “stuff.”
   On November 6, 2019, Plaintiff visited Dubose. Plaintiff had notified the
   prison that she was coming on Georgia Public Defender letterhead on

                                    2
 Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 3 of 9




   October 28, 2019. When Plaintiff arrived in the prison lobby, she was
   arrested for the September 6 incident. The arrest warrant had been issued
   by the Butts County Magistrate Court on November 4, 2019.

      Defendants Nix and Richey did not advise S/A Adkerson to seek a
   warrant for the arrest of Plaintiff. Defendants Nix and Richey were not
   involved in the arrest of Plaintiff, and they were not involved in
   generating media coverage of Plaintiff's arrest.

4. Describe in detail all statutes, codes, regulations, legal principles,
   standards and customs or usages, and illustrative case law which
   defendant contends are applicable to this action.

   Defendants Nix and Richey intend to rely on the doctrine of qualified
   immunity and all of case law related thereto. In addition, they will rely on
   the Fourth Amendment jurisprudence of this Circuit, which will show
   that they did not violate Plaintiff’s constitutional rights in any way. The
   authorities Defendants will rely on include, but are not limited to:
   42 U.S.C. § 1983
   Harlow v. Fitzgerald, 457 U.S. 800 (1982)
   Anderson v. Creighton, 483 U.S. 635 (1987)
   Mitchell v. Parker, 271 F. Supp. 3d 1364 (2017)

5. Provide the name and, if known, the address and telephone number
   of each individual likely to have discoverable information that you
   may use to support your claims or defenses, unless solely for
   impeachment, identifying the subjects of the information. (Attach
   witness list to Initial Disclosures as Attachment A.)

   See Attachment A.

6. Provide the name of any person who may be used at trial to present
   evidence under Rules 702, 703, or 705 of the Federal Rules of
   Evidence. For all experts described in Fed.R.Civ.P. 26(a)(2)(B),
   provide a separate written report satisfying the provisions of that
   rule. (Attach expert witness list and written reports to Initial
   Disclosures as Attachment B.)

   At the time of filing these Initial Disclosures, Defendants have not
   identified an expert witness to testify at trial. Defendants reserve the right

                                    3
 Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 4 of 9




   to amend their response to this disclosure should such expert be
   identified.

7. Provide a copy of, or description by category and location of, all
   documents, data compilations or other electronically stored
   information, and tangible things in your possession, custody, or
   control that you may use to support your claims or defenses unless
   solely for impeachment, identifying the subjects of the information.
   (Attach document list and descriptions to Initial Disclosures as
   Attachment C.)

   See Attachment C.

8. In the space provided below, provide a computation of any category
   of damages claimed by you. In addition, include a copy of, or
   describe by category and location of, the documents or other
   evidentiary material, not privileged or protected from disclosure on
   which such computation is based, including materials bearing on the
   nature and extent of injuries suffered, making such documents or
   evidentiary material available for inspection and copying under
   Fed.R.Civ.P. 34. (Attach any copies and descriptions to Initial
   Disclosures as Attachment D.)

   At this time, Defendants do not claim any damages other than legal fees
   and expenses incurred in defense of this action.

9. If defendant contends that some other person or legal entity is, in
   whole or in part, liable to the plaintiff or defendant in this matter,
   state the full name, address, and telephone number of such person or
   entity and describe in detail the basis of such liability.

   Defendants make no such contention at this time.

10. Attach for inspection and copying as under Fed.R.Civ.P. 34 any
    insurance agreement under which any person carrying on an
    insurance business may be liable to satisfy part or all of a judgment
    which may be entered in this action or to indemnify or reimburse for
    payments to satisfy the judgment.




                                  4
 Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 5 of 9




   Coverage is provided to Defendants by the Georgia Department of
   Administrative Services, pursuant to a State Tort Claims Policy.
   Additional information will be provided upon request.

This June 30, 2022.

                              /s Charles E. Cox, Jr.
                              Charles E. Cox, Jr., LLC
                              Ga. Bar No. 192305
                              Post Office Box 67
                              Macon, Georgia 31202-0067
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                              Attorney for Defendants Nix and Richey




                                 5
        Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 6 of 9




                              ATTACHMENT A

Ms. Lily Engleman, Plaintiff: has knowledge of her interactions with Defendants
and has knowledge of the facts and circumstances surrounding the alleged events.
Plaintiff may be contacted through her counsel.

Jonathan Adams, Defendant: has knowledge of some of the facts and
circumstances surrounding the alleged events. Mr. Adams may be contacted
through undersigned counsel.

William Clayton Nix, Defendant: has knowledge of some of the facts and
circumstances surrounding the alleged events. Mr. Nix may be contacted through
his counsel.

John Richey, Defendant: has knowledge of some of the facts and circumstances
surrounding the alleged events. Mr. Richey may be contacted through his counsel.

Tomekia Jordan, Defendant: has knowledge of some of the facts and circumstances
surrounding the alleged events. Ms. Jordan may be contacted through her counsel.

Mike Riley, Defendant: has knowledge of some of the facts and circumstances
surrounding the alleged events. Mr. Riley may be contacted through his counsel.

Nathan Adkerson, Georgia Department of Corrections: has knowledge of some of
the facts and circumstances surrounding the alleged events. Mr. Adkerson may be
contacted through his counsel.

Maryjane Moss, Georgia Department of Corrections: may have knowledge of some
of the facts and circumstances surrounding the alleged events. Ms. Moss may be
contacted through her counsel.

Jose Morales, Georgia Department of Corrections: may have knowledge of the
facts and circumstances surrounding the alleged events. Mr. Morales may be
contacted through his counsel.

Mark Daniel, Prosecuting Attorneys' Council of Georgia: may have knowledge of
some of the facts and circumstances surrounding the alleged events. Mr. Daniel
may be contacted through his counsel.




                                        6
        Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 7 of 9




Cindy Adams, Prosecuting Attorneys' Council of Georgia: may have knowledge of
some of the facts and circumstances surrounding the alleged events. Ms. Adams
may be contacted through her counsel.

All persons/entities identified in the Initial Disclosures of Plaintiff, Tomekia
Jordan, Jonathan Adams, and Mike Riley.

As discovery is ongoing, Defendants reserve the right to supplement this disclosure
and/or to identify additional witnesses through pleadings, briefs and discovery
responses, depositions, etc.




                                           7
        Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 8 of 9




                               ATTACHMENT C


Audio Interviews with Javaris Roundtree;

Audio Interview with Ricky Dubose;

September 6, 2019 Prison Surveillance Footage;

September 12, 2019 Prison Surveillance Footage;

September 24, 2019 Prison Surveillance Footage; and,

November 6, 2019 Prison Surveillance Footage.

Defendants reserves the right to supplement this disclosure.




                                         8
        Case 1:22-cv-00903-MLB Document 33 Filed 06/30/22 Page 9 of 9




    CERTIFICATE OF SERVICE AND COMPLIANCE WITH L.R. 5.1B

       I, Charles E. Cox, Jr., hereby certify that I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, who will send
notification and a copy of such to all counsel of record.

     I also certify that I have mailed by United States Postal Service the
document and a copy of the Notice of Electronic Filing to the following
nonCM/ECF participants: N/A

      I further certify pursuant that this pleading complies with L.R. 5.1(C) and
was prepared using a 14 point Times New Roman font.

      This June 30, 2022.




                                        /s Charles E. Cox, Jr.
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                                           9
